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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL.                                            CIVIL ACTION

VERSUS                                                                No. 12-859

MARLIN GUSMAN, ET AL.                                                SECTION I

                                      ORDER

         Considering Orleans Parish Sheriff Marlin N. Gusman’s motion 1 to exceed

page limitations with respect to his motion to terminate the Consent Decree,

pursuant to 18 U.S.C. § 3626(b), and the Stipulated Order for Appointment of

Independent Jail Compliance Director,

         IT IS ORDERED that the motion is GRANTED.

         New Orleans, Louisiana, May 27, 2020.



                                       _______________________________________
                                               LANCE M. AFRICK
                                       UNITED STATES DISTRICT JUDGE




1   R. Doc. No. 1272.
